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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

STETSON SKENDER, Individually and on
Behalf of All Others Similarly Situated                                  PLAINTIFF

VS.                                 4:20-CV-00054-BRW

EDEN ISLE CORPORATION
and GARY REDD                                                            DEFENDANTS


                                        JUDGMENT

      Based on the Order entered today, April 29, 2021, this case is dismissed with prejudice.

      IT IS SO ORDERED this 29th day of April, 2021.


                                           BILLY ROY WILSON
                                      UNITED STATES DISTRICT JUDGE




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